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         8                            UNITED STATES DISTRICT COURT
         9                           EASTERN DISTRICT OF CALIFORNIA
       10

       11    UNITED STATES OF AMERICA,          )              Case No. CR S-11-0210 JAM
                                                )
       12                      Plaintiff,       )
                                                )              RELATED CASE ORDER
       13         v.                            )
                                                )
       14    VERA KUZMENKO, NADIA KUZMENKO, aka )
             NADIA REYES, AARON NEW, VENIAMIN   )
       15    MARKEVICH, aka BEN MARKEVICH,      )
             EDWARD SHEVTSOV, PETER KUZMENKO,   )
       16    SERGEY BLIZENKO, VANIK ATOYAN,     )
             RACHEL SIDERS, LEAH ISOM,          )
       17                                       )
                               Defendants.      )
       18    UNITED STATES OF AMERICA,          )
                                                )
       19                      Plaintiff,       )
                                                )              Case No. CR S-11-0467 JAM
       20         v.                            )
                                                )
       21    ZHORA DARMOYAN, MARAT GALOYAN,     )
             MARTIN ATOYAN, and KRISTINE        )
       22    ATOYAN,                            )
                                                )
       23                      Defendant.       )
             UNITED STATES OF AMERICA,          )
       24                                       )
                                Plaintiff,      )              Case No. CR S-11-0490 JAM
       25                                       )
                  v.                            )
       26                                       )
             IRINA MARKEVICH, ALEX MARKEVICH,   )
       27    ANATOLIY MARKEVICH, DANIIL         )
             MARKEVICH, SVENTLANA MARKEVICH,    )
       28    NATALYA MARKEVICH, DANIIL          )
             PIGLITSIN, SERGEY PUKHKAN, and     )
                                                      1
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         1   MARINA PUKHKAN,                              )
                                                          )
         2                         Defendants.            )
                                                          )
         3   UNITED STATES OF AMERICA,                    )
                                                          )
         4                           Plaintiff,           )
                   v.                                     )    Case No. CR S-12-061 WBS
         5                                                )
             GENNADIY YURKEVICH,                          )
         6                                                )
                                     Defendant.           )
         7                                                )
             UNITED STATES OF AMERICA,                    )
         8                                                )
                                     Plaintiff,           )
         9                                                )    Case No. CR S-12-062 JAM
                   v.                                     )
       10                                                 )
             ANNA KUZMENKO, aka ANNA SORKINA,             )
       11                                                 )
                                     Defendant.           )
       12                                                 )
             UNITED STATES OF AMERICA,                    )
       13                                                 )
                                     Plaintiff,           )
       14                                                 )    Case No. CR S-12-063 WBS
                   v.                                     )
       15                                                 )
             PAVEL UDALOV,                                )
       16                                                 )
                                     Defendant.           )
       17                                                 )
             UNITED STATES OF AMERICA,                    )
       18                                                 )    Case No. CR S-12-067 KJM
                                     Plaintiff,           )
       19                                                 )
                   v.                                     )
       20                                                 )
             TIMOFEY GURIN,                               )
       21                                                 )
                                     Defendant.           )
       22                                                 )
                                                          )
       23    UNITED STATES OF AMERICA,                    )
                                                          )    Case No. CR S-12-068 MCE
       24                            Plaintiff,           )
                                                          )
       25          v.                                     )
                                                          )
       26    IRINA GEREZ,                                 )
                                                          )
       27                            Defendant.           )
                                                          )
       28                                                 )

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         1   UNITED STATES OF AMERICA,                    )
                                                          )    Case No. CR S-12-069 MCE
         2                           Plaintiff,           )
                                                          )
         3         v.                                     )
                                                          )
         4   ANDREY ANDREYEV and VITALIY                  )
             ANDREYEV,                                    )
         5                                                )
                                     Defendants.          )
         6

         7         Examination of the above-entitled actions reveals that these

         8   actions are related within the meaning of Local Rule 123(f) (E.D.

         9   Cal. 2005). Accordingly, the assignment of the matters to the same

       10    judge is likely to affect a substantial savings of judicial effort

       11    and is also likely to be convenient for the parties.

       12          The parties should be aware that relating the cases under Local

       13    Rule 123 merely has the result that these actions are assigned to

       14    the same judge; no consolidation of the actions is effected.

       15          IT IS THEREFORE ORDERED that the actions denominated

       16    CR S-12-061 WBS, CR S-12-063 WBS, CR S-12-067 KJM, CR S-12-068 MCE

       17    and CR S-12-069 MCE be reassigned to Judge John A. Mendez for all

       18    further proceedings, and any dates currently set in these

       19    reassigned cases only are hereby VACATED.             Henceforth, the caption

       20    on documents filed in the reassigned cases shall be shown as

       21    CR S-12-061 JAM, CR S-12-063 JAM, CR S-12-067 JAM, CR S-12-068 JAM

       22    and CR S-12-069 JAM.

       23          IT IS FURTHER ORDERED that the Clerk of the Court make

       24    appropriate adjustment in the assignment of criminal cases to

       25    compensate for this reassignment.

       26          IT IS SO ORDERED.

       27    Dated:     March 5, 2012               /s/ John A. Mendez________________
                                                    JOHN A. MENDEZ
       28                                           United States District Court Judge

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